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              Exhibit 88
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      DEFENDING THE REPUBLIC                              HOME    DONATE           SCOTUS    V       The BattleGround    v         MEDIA      CONTACT      V




             DEFENDING THE REPUBLIC
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                                                       ... if you ca11keepit." - <J3eltjami11
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                                                                                     Sidney Powell.
                                                                                     Since the 2020 election, Sidney Powell has put together a small and
                                                                                     dedicated team of Patriots to uncover and begin litigating the
                                                                                     massive election fraud the country just experienced especially but
                                                                                     not exclusively through the Dominion voting machines.


                                                                                     Defending the Republic was created to help fund this enormously

                                                                                     important litigation and to pursue any other litigation that might be
                                                                                     needed to keep this extraordinary Republic and "secure the
                                                                                     blessings of liberty for ourselves and our posterity."




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                                  Case 1:21-cv-00040-CJN Document 1-87 Filed 01/08/21 Page 3 of 5



                                                                                     blessings of liberty for ourselves and our posterity."


                                                                                     To contact Sidney Powell directly, please visit her website:

                                                                                     https://www.sidneypowell.com


                                                                                     Millions of dollars must be raised to defend the Republic as these
                                                                                     lawsuits continue to be filed to ensure victory.


                                                                                     In Bush v. Gore the Supreme Court recognized that once vested in
                                                                                     the people, the right to vote is fundamental, and one source of its
                                                                                     fundamental nature lies in the equal weight of each vote.


                                                                                     This fundamental right to equal weight was not defended or
                                                                                     actualized in this election. There is evidence of ballots being

                                                                                     discarded, hundreds of thousands of ballots appearing out of thin
                                                                                     air, ballot harvesting, and a lower standard of verification for some
                                                                                     mail-in ballots. This is voter fraud and has infringed upon Americans

                                                                                     sacred right to vote and for their votes to carry equal weight.


                                                                                     The case will seek to block the certification of the election results so
                                                                                     that justice can be done. We need to stop the steal in its tracks.


                                                                                     The future of our Republic is at stake. The left, the media, and a
                                                                                     complicit Republican Establishment are attempting to steal this

                                                                                     election through a staggering voter fraud operation. The time to
                                                                                     fight is now!




     THE KRAKEN IS                                                                               Contribute
                                                                                                          to Defendthe RepubrA


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     THE KRAKEN IS
     RELEASED

     "The right to do what the law does not prohibit,

     without fear of harassment or punishment, is
                                                                                            Address Line 1
     one of the hallmarks of a free society." - Sidney
     Powell                                                                                 Address Line 2



                                                                                            City             State   V   Zip Code

     Since Defending the Republic was established by Sidney Powell to
     defend and to protect the integrity of elections in the United States.

     Please contribute below, using our secure system. Your donation
     will support our mission and the welfare of the American Republic.


     Pleasemake any/all checks payable to: Defending the Republic LLC


     Sidney Powell, P.C.

     10130 Northlake Blvd, #214342
    West Palm Beach,Florida 33412


     Memo: DefendingTheRepublicElectionIntegrity




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